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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION


      PUES FAMILY TRUST IRA, MICHAEL
      PUES EXECUTOR
      v.
                                                                Case No. 19-MC-80024 DMM
      PARNAS HOLDINGS, INC, LEV PARNAS
        Debtor.
      ______________________________________/


               NOTICE OF SERVING DEFENDANT, LEV PARNAS’ ANSWERS TO
            PLAINTIFF’S FIRST SET OF INTERROGATORIES IN AID OF EXECUTION

           COMES NOW, Defendant, LEV PARNAS, by and through his undersigned counsel, and

  pursuant to Rule 1.340, Florida Rules of Civil Procedure, hereby serves his Answers to Plaintiff, PUES

  FAMILY TRUST IRA, MICHAEL PUES EXECUTOR’S First Set of Interrogatories to Plaintiff

  numbered 1 through 14.




                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed with

  this Court by CM/ECF. We also certify that the foregoing document is being served this 13th

  day of September 2019 on counsel of record identified on the below Service List in the manner

  specified, either via transmission of Notice of Electronic Filing generated by CM/ECF or by U.S.

  Mail to those who are not authorized to receive Notices of Electronic Filing.
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  Pues Family Trust v. Parnas Holdings, Inc., et al.
  Case No. 19-MC-80024 DMM
  Notice of Serving Defendant, Lev Parnas’ Answers
  To Plaintiff’s First Set of Interrogatories


                                                       SERVICE LIST
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                                                       By: /s/Chris Alan Draper
                                                              Chris Alan Draper, J.D.
                                                              Florida Bar No.: 0838640




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